






NO. 07-00-0515-CR


NO. 07-00-0516-CR


NO. 07-00-0517-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



SEPTEMBER 13, 2001



______________________________




DAMON ANDREW BONNER, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE




_________________________________



FROM THE 181ST DISTRICT COURT OF POTTER COUNTY;



NOS. 37769-B, 38138-B, 38976-B; HONORABLE SAMUEL KISER, JUDGE



_______________________________



Before BOYD, C.J., and REAVIS and JOHNSON, JJ.

	In three companion cases, appellant seeks to challenge the revocation of probation
heretofore granted in each case.  In order to properly discuss these appeals, a brief
recitation of the procedural history of the cases is necessary.  


Cause No. 07-00-0515-CR

	This case arose out of a prosecution for the state jail felony of possession of a
controlled substance.  On September 11, 1997, upon appellant's guilty plea, he was
granted deferred adjudication and placed under community supervision for three years. 
On April 13, 1998, the State's motion to adjudicate was granted, appellant was adjudged
guilty and given a probated sentence of two years confinement in a state jail facility.  On
October 4, 2000, appellant's probation was revoked and he was ordered to serve his two-
year sentence in a state jail facility.  Appellant gave a timely general notice of appeal from
this revocation.  This revocation hearing was held at the same time as the other
revocations.

Cause No. 07-00-0516-CR

	This case arose out of a prosecution for the third degree felony of possession of a
controlled substance.  On September 11, 1997, upon appellant's guilty plea, he was
granted deferred adjudication and placed under community supervision for five years.  On
April 13, 1998, the State's motion to adjudicate was granted, appellant was adjudged guilty
and was given a probated sentence of ten years confinement in the Institutional Division
of the Department of Criminal Justice.  On October 4, 2000, appellant's probation was
revoked and he was ordered to serve his ten-year sentence. Appellant gave a timely
general notice of appeal from this revocation.  This revocation hearing was held at the
same time as the other revocations.

Cause No. 07-00-0517-CR

	In this case, appellant was indicted for the third degree felony of possession of a
controlled substance alleged to have occurred on or about December 11, 1997.  On April
13, 1998, upon his guilty plea, appellant was found guilty and was given a probated
sentence of ten years confinement in the Institutional Division of the Department of
Criminal Justice.  On October 4, 2000, appellant's probation was revoked and he was
ordered to serve his ten-year sentence.  Appellant gave a timely general notice of appeal
from this revocation. This revocation hearing was held at the same time as the revocation
hearings on the preceding two offenses.

	On May 4, 2001, appellant's appointed attorney filed a joint brief in which he
discusses each of the three cases.  In his brief, he certifies that after diligently searching
the record, he is convinced there is no reversible error and the appeals are without merit. 
See Anders v. California, 386 U.S. 738, 744-45, 87 S.Ct. 1386, 18 L.Ed.2d 493 (1987), and
Gainous v. State, 436 S.W. 2d 137 (Tex.Crim.App. 1969).

	With his brief, counsel has filed a motion to withdraw and attached a copy of a May
4, 2001 letter informing appellant of his intent to withdraw and of appellant's right to file
briefs on his own behalf.  Appellant has not availed himself of the opportunity to file a pro
se brief.

	In considering requests to withdraw such as this, we face two interrelated tasks. 
We must first satisfy ourselves that the attorney provided the client with a diligent and
thorough search of the record for any arguable claim that might support the client's appeal. 
We must then determine if counsel has correctly concluded the appeal is frivolous.  See
McCoy v. Court of Appeals of Wisconsin, 486 U.S. 429, 442, 108 S.Ct. 1895, 100 L.Ed.2d
440 (1988), and High v. State, 573 S.W.2d 807, 813 (Tex.Crim.App. 1978).

	In his brief, by denominated issues, counsel outlines the result of his review of the
record and the reasons for his conclusion that no reversible error exists.  We have also
carefully examined the record of the revocation hearings.  The motions seeking revocation
each contain multiple allegations.  According to the reporter's record, appellant entered
a plea of true to all the allegations, with the exception of allegation 4(a) in which the State
asserted that appellant fled from a police officer who was lawfully attempting to detain him
and that appellant knew he was a police officer.  Appellant was sworn and testified
concerning that allegation, as did two of the police officers involved in the incident.  At the
conclusion of the hearing, the court found that particular allegation was also true.

	It is the rule that in a proceeding to revoke community supervision (probation), the
burden is upon the State to prove by a preponderance of the evidence that the probationer
has violated one of the probationary conditions as alleged in the motion to revoke. 
Cardona v. State, 665 S.W.2d 492, 493-94 (Tex.Crim.App. 1984).  Even so, it is equally
well established that when a plea of true is entered in a revocation proceeding, the
sufficiency of the evidence may not be challenged.  Rincon v. State, 615 S.W.2d 726, 747
(Tex.Crim.App. 1981); Cole v. State, 578 S.W.2d 127, 128 (Tex.Crim.App. 1979).  Indeed,
a plea of true, standing alone, is sufficient for revocation of probation and proof of any one
of the alleged violations is sufficient to support a revocation of community supervision
(probation).  Moses v. State, 590 S.W.2d 469, 470 (Tex.Crim.App. 1979).  Thus, without
more, appellant's plea of true to all of the revocation allegations except allegation 4(a)
would have been sufficient to sustain the revocation.  However, the trial judge heard the
evidence pertaining to the allegation in 4(a) and found, by the proper test, that those
allegations were true.  Thus, even assuming appellant's denominated issues were
sufficient to present questions for our decision, they must be, and are hereby, overruled. 
We also find that appellant's appointed attorney has fulfilled his obligations and is entitled
to withdraw.

	In summary, for the reasons we have expressed, appellate counsel's motion to
withdraw is hereby granted and the judgments of the trial court are affirmed.


							John T. Boyd

							 Chief Justice


Do not publish.



To defeat Burnett’s effort to terminate, Cano asserted numerous grounds in its motion for
summary judgment.  Through one, it stated that a “one-time event, such as a fire, is not a
remediable event and does not support termination under the terms of the lease.”  Rather,
[s]uch event would support, if anything a claim for damages.”  We interpret this as Cano
arguing that irrespective of whether notice and opportunity to cure was afforded, the right
to terminate due to a breach does not encompass circumstances like those at bar.  Implicit
in that argument is the proposition that the clause allegedly applies only to defaults which
are susceptible to being cured.  If they are not of that ilk, then termination is unavailable,
or so the argument would go.  And, that particular argument was not addressed by Burnett
in its appellate brief.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Consequently, we overrule the motion for rehearing.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Brian Quinn
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Chief Justice 


Campbell, J., concurs. 


